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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE               Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988             www.ca6.uscourts.gov




                                                 Filed: December 11, 2023




Ms. Ann E. Filkins
U.S. District Court
for the Western District of Michigan at Grand Rapids
110 Michigan Street, N.W.
Suite 399 Federal Building
Grand Rapids, MI 49503-0000

                      Re: Case No. 23-1134, Owen Barnaby v. MI, et al
                          Originating Case No. : 1:22-cv-01146

Dear Ms. Filkins,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Mackenzie A. Collett
                                                  For Leon Korotko

cc: Mr. Owen W. Barnaby
    Ms. Emily Jenks
    Mr. Theodore Seth Koches
    Ms. Kimberly K. Pendrick
    Mr. Thomas J. Rheaume Jr.

Enclosure
           Case: 23-1134 Document:
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                             No: 23-1134
                                           ________________

                                                                      Filed: December 11, 2023

OWEN W. BARNABY

                Plaintiff - Appellant

v.

STATE OF MICHIGAN; GRETCHEN WHITMER, Governor; MCKINLEY R. ELLIOTT,
Attorney; JAMES T. MCGOVERN, Attorney; KENDELL ASBENSON, (P81747); JEFFREY
ROBERT HOLMSTROM, Attorney; DANA NESSEL, Attorney General; HOLMSTROM
LAW, PLC; CITY OF BENTON HARBOR, MI; UNKNOWN PART(Y)(IES), Named as Title
& Insurance Company(s); NILES CHARTER TOWNSHIP, MI; BOARD OF TRUSTEES OF
NILES CHARTER TOWNSHIP, MI; BERRIEN COUNTY, MI; BERRIEN COUNTY, MI
BOARD OF COMMISSIONERS; BRET WITSKOWSKI, Berrien County Treasuser, in his
individual capacity; SHELLY WEICH, Berrien County Treasuser; LORI D. JARVIS, Berrien
County Registar; LORA L. FREEHLING, Berrien County Registar; KATHLEEN
CULBERSON, Berrien County Notary Public; JENNIFER M. GRANHOLM, Former Governor;
RICK SNYDER, Former Governor; DONNA B. HOWARD, Attorney

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 11/17/2023 the mandate for this case hereby

issues today.



COSTS: None
